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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 ELECTRONIC PRIVACY INFORMATION CENTER,

        Plaintiff,

        v.                                                         Civ. Action No. 19-810 (RBW)

 UNITED STATES DEPARTMENT OF JUSTICE,

        Defendant.



                                    JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order dated October 11, 2019, Plaintiff Electronic

Privacy Information Center (“EPIC”) and Defendant U.S. Department of Justice (“DOJ”), by and

through undersigned counsel, respectfully submit this Joint Status Report and Motion to Adopt a

Schedule for Further Proceedings.

       1.      Category 6(a) of EPIC’s FOIA Request seeks, “All ‘report[s],’

‘recommendation[s],’ and other ‘compilation[s] of information’ prepared for the eventual

consideration of one or more members of Congress, whether or not such records were actually

transmitted to any party outside of the Special Counsel’s Office,” and cites to In re Report &

Recommendation of June 5, 1972 Grand Jury Concerning Transmission of Evidence to House of

Representatives, 370 F. Supp. 1219, 1221, 1226 (D.D.C. 1974), aff’d sub nom. Haldeman v.

Sirica, 501 F.2d 714 (D.C. Cir. 1974).

       2.      Category 6(b) of EPIC’s FOIA Request seeks, “All drafts, outlines, exhibits, and

supporting materials associated with any actual or planned report, recommendation, or

compilation of the type described in Category (6)(a) of this request[.]” Per the parties’
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agreement as reflected in their Joint Status Report, Dkt. 61, EPIC narrowed the scope of this

request by striking the terms “drafts” and “outlines,” and by defining “supporting materials” to

mean “all attachments, appendices, and enclosures associated with the documents described in

subpart (a) of each category.”

       3.      On August 8, 2019, DOJ informed EPIC that no records responsive to Category 6

of EPIC’s FOIA Request were located.

       4.      In response to an inquiry from EPIC, on October 3, 2019, DOJ provided EPIC

with DOJ’s search methodology for identifying records responsive to Categories 2 through 7 of

EPIC’s FOIA Request.

       5.      On October 10, 2019, EPIC requested that DOJ conduct an additional search for

records responsive to Category 6 of EPIC’s FOIA Request using the commonly understood

definitions of the terms “reports,” “recommendations,” and “compilations of information.”

       6.      On October 31, 2019, DOJ agreed to conduct an additional search for records

responsive to Category 6 of EPIC’s FOIA Request using the commonly understood definitions of

the terms “reports,” “recommendations,” and “compilations of information.”

       7.      DOJ anticipates that its additional search for records responsive to Category 6 of

EPIC’s FOIA Request will be completed in three months. Once the search and responsiveness

review of any potentially responsive records located through OIP’s search are completed, OIP

will provide EPIC with a schedule, based on the number of responsive records located, if any, to

process and release all non-exempt, responsive records.

       8.      Accordingly, the parties hereby agree to adopt the following proposed schedule:

      • The parties will file a Joint Status Report on or before February 7, 2020, which
        shall include the status of OIP’s search for responsive records and a proposed
        schedule for further proceedings, if necessary.
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The adoption of this schedule will facilitate the efficient resolution of this lawsuit and conserve

the Court’s resources.



 Dated: November 8, 2019                              Respectfully Submitted,


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